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    Your money: BPCA spends $600,000 on geothermal well experiment, elevators, but
    still fails to fund traffic lights

    Martha Gallo, person who oversaw JPMorgan problems, still on BPCA board

    Exclusive: BPCA’s Anne Fenton and Matt Monahan gone

    Chairman/CEO of BPCA might be next to leave

    Exclusive: BPCA’s Phyllis Taylor leaving next month

    Chaos at the BPCA

    What we the people demand from the BPCA

    Plan to form “committee” deciding fate of Stuyvesant community center is likely
    illegal

    Exclusive: BPCA pays for park staff reassigned to non-BPC parks

    CB1 has been given the green light to call for the end of the BPCA

    Apartment values would skyrocket if city took over BPCA

    Sheldon Silver’s synagogue sued

    Exclusive: Is the BPCA paying the city for no-show PEP officers?

    Exclusive: BPCA pays for park staff reassigned to non-BPC parks

    Is Sheldon Silver really fighting for more schools?

    Winners and losers if the BPCA were to be dissolved

    Apartment values would skyrocket if city took over BPCA

    Will Asphalt Green survive in Sheldon Silver’s district?

    Important BPCA meeting tomorrow now cancelled

    Exclusive: Who is behind CB1′s move to dissolve the BPCA?

    Should I run against Sheldon Silver in 2014?

    BPCA’s Fernando Mateo in the news again for another scandal




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    Sheldon Silver staffer snaps. Posts bogus comment.

    Questions you should ask of the appointed BPCA

    Huge conflict of interest created by the BPCA hiring new President Shari Hyman

    Is the BPCA trying to kill the Irish Memorial?

    PEP Captain Falcon denies reassigning his PEP to other parks

    Sheldon Silver unable to get a traffic light for PS 276




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